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STATE OF INDIANA               )       IN THE ST. JOSEPH CIRCUITf3t1PERIOR' COURT
                               )SS:
ST. JOSEPH COUNTY              )       CAUSE NO.1lCo.t-- \1>05         - C]" -   Dco~S

JONATHAN FERGUSON,                                     )
                                                       )
               Plaintiff,                              )
                                                       )
       v.                                              )
                                                       )
CIVIL CITY OF SOUTH BEND, IN.,                         )                             i\:~ 1l\y'
                                                                                       ,;' 1.     0 3 lUl'~
                                                                                                  ."   t:.:.   fdJ


PETE BUTTIGIEG, MAYOR,                                 )
CHARLES HURLEY, Interim Chief of                       )
Police of the South Bend Police Department,            )
PATROLMAN ERIC MENTZ,                                  )
PFC. MICHAEL STUK, and                                 )
OFFICER AARON KNEPPER,                                 )
                                                       )
               Defendants.                             )       JURY DEMAND

                                      COlYIPLAINT AT LAW

        COMES NOW, the Plaintiff, Jonathan Ferguson, by and through his counsel, Johnny W.

Ulmer, and for his cause of action would state as follows:

                                       I. INTRODUCTION

       This action arises under the Fourth, Fifth and Fourteenth Amendments to the United

States Constitution; under federal law, specifically, 42 U.S.C. §§ 12101-12213 (2000),29 U.S.c.

§ 794(a) (2000)(ADA and the Rehabilitation Act), 42 U.S.c. §§ 1983 and 1988; under the

Indiana governmental tort liability statutes; and under Indiana common law for intentional and/or

negligent infliction of emotional distress, deliberate indifference, negligence by the Civil City of

South Bend, failure to train, conspiracy to deprive the Plaintiff of his civil rights, negligent

supervision, gross negligence, slander and defamation.

        Defendants, Patrolman Eric Mentz; PFC. Michael Stuk; and Officer Aaron Knepper, were

not acting in the scope of their employment, when, under color of State law, they unlawfully

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slashed the Plaintiff's vehicle tire and later forced him to drink a mixture containing cinnamon,

and then posted a video of the Plaintiff drinking the cinnamon concoction on Facebook to

defame him.

       The Defendants' action caused injury to the Plaintiff.

       This Action is also brought against the Civil City of South Bend, Indiana ( hereinafter

"City of South Bend"), Pete Buttigieg, the Mayor of the City of South Bend, and Charles Hurley,

the Interim Chief of Police of the City of South Bend Police Department, for failure to properly

train and supervise the individual Defendants, and for failure to implement a policy for dealing

with disabled citizens that does not violate their civil rights or encourage mistreatment of citizens

with disabilities, and for establislmlent of policies, procedures, practices, and customs that fail to

protect and respect the rights of disabled citizens. Our Courts have recognized that how police

respond to people with disabilities depends on their training.

                                              PARTIES

        1. The Plaintiff, Jonathan Ferguson, is a citizen and resident of South Bend, Indiana.

        2. The Defendant, Charles Hurley is a citizen and resident of South Bend, Indiana and

was at all times material to the allegations in this Complaint, acting in his capacity as an Interim

Chief of Police of the South Bend Police Department and under color of State law, and is

responsible for the supervision and training of the Defendants Patrolman Eric Mentz; PFC.

Michael Stuk; and Officer Aaron Knepper.

        3. That Defendant Hurley, as the Interim Chief of the South Bend Police Department, is

further responsible for making and/or implementing policies and practices used by law

enforcement officers employed by the City of South Bend, Indiana, regarding arrest and the use

of force.

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        4. Defendant Patrolman Eric Mentz is a citizen and resident of South Bend, Indiana and

in his capacity as a police officer employed by the South Bend Police Department, and under

color of State law and individually.

        5. Defendant ppc. Michael Stuk is a citizen and resident of South Bend, Indiana and in

his capacity as a police officer employed by the South Bend Police Department, and under color

of State law and individually.

        6. Defendant Officer Aaron Knepper is a citizen and resident of South Bend, Indiana

and in his capacity as a police officer employed by the South Bend Police Department, and under

color of State law and individually.

        7. The Defendant City of South Bend is a political subdivision of the State ofIndiana,

for which Defendants PtL Eric Mentz, Pfc. Michael Stuk, and Officer Aaron Knepper, serve as

police officers. Defendant Charles Hurley served as the Interim Chief of police for the City of

South Bend, and Defendant Pete Buttigieg serves as the Mayor of the City of South Bend.

        8. The City of South Bend has established or delegated to Defendant Hurley the

responsibility for establishing and implementing policies, practices, procedures, and customs

used by law enforcement officers employed by the City of South Bend regarding citizens with

disabilities.

              FIRST CAUSE OF ACTION AGAINST DEFENDANTS
         PATROLMAN ERIC MENTZ, PFC. MICHAEL STUK, and OFFICER
       AARON KNEPPER, FOR VIOLATING THE PLAINTIFF'S CIVIL RIGHTS

        9. The Plaintiff restates and reiterates all of the foregoing paragraphs of this complaint

as set forth in full at this point.

        10. This action arises under Title 42 U.S.C. §§ 12101-12213 (2000),29 U.S.C. § 794 (a)

(2000) (ADA and the Rehabilitation Act), 42 U.S.C. §§ 1983 and 1988, and the United States

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Constitution.

        11. That at all times mentioned herein, each of the Defendants named in this count was

an agent and/or employee of the City of South Bend, Indiana, and was acting within the course

and scope of said agency and/or employment.

        12. That beginning sometime in the summer of2012, in South Bend, Indiana, the

Plaintiff was employed at the 7-Eleven convenience store located at 1827 Miami Street, South

Bend, Indiana, working the third shift.

        13. That several South Bend Police Officers, including the named defendants, went to

the 7-Eleven store and were advised by the Plaintiff that a drunk patron had just left the store in a

car and should be stopped.

        14. The officers stated that they did not want to go after the motorist, because it would

require them to spend a lot of time on the paperwork.

        15. The Plaintiff, surprised by the officers response, made a complaint to the South Bend

Police Department. A few days after the Plaintiff's complaint, one of the named Defendants was

seen outside of the 7-Eleven store in a marked patrol car.

        16. The Defendant walked over to the Plaintiff's car and removed an object from his

pocket, then bent over by the tire of the Plaintiff's car.

        17. Then the three (3) named Defendants came inside of the 7-E1even and told the

Plaintiff that he should check his car tire.

        18. The Plaintiff checked his car tire and discovered that it had been punctured by one of

the Defendants use of a sharp object.

        19. That prior to filing a complaint, the Plaintiff looked at the 7-Eleven surveillance tape

and saw only the Defendants around his car.

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        20. The Plaintiff filed a complaint about the incident with the South Bend Police

Department, alleging an officer had cut his car tire in retaliation for the complaint he filed when

the officers refused to try to locate the drunk motorist.

        21. After the complaint was filed, the Plaintiff was called down to the South Bend Police

Department to look at the video footage ofthe tire slicing incident, and the Plaintiff noticed that

the copy of the tape from the 7-Eleven store now in the possession of the South Bend Police,

appeared to be altered from what he had originally seen. The Plaintiff observed that the picture

of the incident was obscure. The Plaintiff was later told by another officer with the South Bend

Police Department, that juveniles had been arrested for the tire slashing and that there was no

need to file a law suit. (The officer that spoke with the Plaintiff was identified as Lt. Lee Ross)

         22. A Captain Phil Trent of the South Bend Police Department appeared on ABC News

and stated that a juvenile had been arrested for the tire slashing.

         23. In fact, no juvenile(s) were in custody for the incident at the time the Plaintiff was

told this information.

         24. That prior to the misinformation about a juvenile slashing the Plaintiff's tire, two (2)

of the Defendants involved in the tire slashing incident had entered the 7-Eleven and bought

coffee and soda.

         25. While there, the two Defendants challenged the Plaintiff, who had been diagnosed

with ADHD, to take a "cinnamon challenge," where the Plaintiff was told "ifhe could swallow a

tablespoon of cinnamon, the Defendants would give him a coupon for dinner at Applebees and

thirty dollars." The Plaintifftook the challenge and became very ill, vomiting for several hours.

The Defendants never honored their pledge to the Plaintiff. The Defendants posted the video of

the challenge on youtube.

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               SECOND CAUSE OF ACTION AGAINST ALL DEFENDANTS
                  FOR INVASION OF PRIVACY AND DEFAMATION
                             (FIRST AMENDMENT)

        26. The Plaintiff restates and reiterates all of the foregoing paragraphs of this complaint

as set forth in fun at this point.

        27. After the incidents, (a) Defendants or their agents reported to the local media, that the

Plaintiff's tire had been slashed by ajuvenile, and (b) posted the cinnamon challenge on the

internet.

        28. That by supplying untrue infonnation to the media and the public, Defendants knew,

and intended, that such infonnation would be published to the community. The Defendants'

untrue statements to the local media were intended to do malicious hann to the Plaintiff's

character.

        29. That the Defendants knowingly posted the cinnamon challenge o.n the internet to

humiliate the Plaintiff.

        30. The Defendants in doing so, violated the Plaintiff's First Amendment Right to

Privacy.

                               THIRD CAUSE OF ACTION
                              AGAINST ALL DEFENDANTS
                        FOR FAILURE TO PROTECT THE PLAINTIFF


         31.   The Plaintiff restates and reiterates all of the foregoing paragraphs of this complaint

as set forth in full at this point.

         32. The Defendants, placed the Plaintiff in a position of danger by subjecting The

Plaintiff to pain and suffering from the cinnamon challenge, and then humiliated him by posting


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this cinnamon challenge on the internet.

        33. The Defendants had the present ability to protect the Plaintiff from hann.

        34. That the senior police officer present, had the ability to prevent the other Defendants

from slashing the Plaintiff s car tire and from giving the Plaintiff the cinnamon challenge, but

with reckless disregard and gross negligence, failed to do so.

        35. That all of the Defendants had the ability to prevent the transmission of false

information to the local media and the posting of the humiliating information on the internet, but

recklessly and with gross negligence, failed to do so.

            FOURTH CAUSE OF ACTION AGAINST DEFENDANTS
 PATROLlVIAN ERIC MENTZ, PFC. MICHAEL STUK, OFFICER AARON KNEPPER,
  MAYOR PETE BUTTIGIEG, THE INTERIM POLICE CHIEF CHARLES HURLEY,
     AND THE CITY OF SOUTH BEND, INDIANA PURSUANT TO INDIANA
        GOVERNMENTAL TORT LIABILITY/INDIANA COMMON LAW
                              (Negligence)

        36. The Plaintiff restates and reiterates all of the foregoing paragraphs of this complaint

as set forth in full at this point.

        37. That each Defendants owed the Plaintiff a duty to use due care at or about the times

of the aforementioned incident.

         38. That in committing the aforementioned acts and/or omissions, each Defendant

negligently breached said duty to use due care, which directly and proximately resulted in the

injuries and damages to the Plaintiff as alleged herein.

            FIFTH CAUSE OF ACTION AGAINST DEFENDANTS
 PATROLMAN ERIC MENTZ, PFC. MICHAEL STUK, OFFICER AARON KNEPPER,
  MAYOR PETE BUTTIGIEG, THE INTERIM POLICE CHIEF CHARLES HURLEY,
     AND THE CITY OF SOUTH BEND, INDIANA PURSUANT TO INDIANA
       GOVERNMENTAL TORT LIABILITYIINDIANA COMMON LAW
                         (Negligent Supervision)

         39. The Plaintiff restates and reiterates all of the foregoing paragraphs of this complaint

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as set forth in full at this point.

        40. That each Defendant owed the Plaintiff a duty to use due care at or about the time of

the aforementioned incidents.

        41. That the Defendants City of South Bend, and Mayor Pete Buttigieg, negligently

supervised the Interim Chief of Police, Chief Charles Hurley, who in tum negligently supervised

Defendants Patrolman Eric Mentz, Pfc. Michael Stuk, and Officer Aaron Knepper by failing to

provide proper training and proper procedures when confronted with people with disabilities.

         42. That in committing the aforementioned acts or omissions, each Defendant

negligently breached said duty to use due care, which directly and proximately resulted in the

injuries and damages to the Plaintiff as alleged herein.

                SIXTH CAUSE OF ACTION AGAINST ALL DEFENDANTS
              VIOLATIONS OF THE ADA AND THE REHABILITATION ACT

         43. The Plaintiff restates and reiterates all of the foregoing paragraphs of this complaint

as set forth in full at this point.

         44. That the named Defendants that slashed the Plaintiffs car tire and subjected him to

the cinnamon challenge were regular patrons of the Plaintiffs place of employment (7-Eleven).

         45. That the Defendants had interacted with the Plaintiff on numerous occasions, and

were aware of his disability. The disability itself was immediately apparent to the Defendants,

and was the reason the Defendants picked him as they slashed his car tire and subjected him to

the cinnamon challenge, causing the Plaintiff to suffer injury and indignity.

         46. The Defendants' conduct was motivated by evil motive or intent, or involved

reckless or callous indifference to the federally protected rights of the Plaintiff.

         47. The Plaintiff is a qualified individual with a disability who was otherwise


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discriminated against by the Defendants, and that discrimination was because of the Plaintiffs

disability.

                                         ATTOR1~EY        FEES

        48. That if the Plaintiff prevail in this action, by settlement or otherwise, the Plaintiff is

entitled to and hereby demands attorney's fees under 42 U.S.C. Section 1988.

                                      PRAYERS FOR RELIEF

        WHEREFORE, The Plaintiff Jonathan Ferguson prays for judgment against the

Defendants, and each ofthem, jointly and severally, as follows:

        1. Special damages according to proof;

        2. General damages according to proof;

        3. Punitive and exemplary damages according to proof;

        4. Costs of this suit and reasonable attorney fees;

         5. That the Plaintiffbe awarded reasonable expense incurred in this litigation, including

              reasonable attorney and expert fees, pursuant to 42 U.S.c. § 1988 (b) and (c); and

         6. Such other and further relief as the Court deems just and proper.



                                                 Respectfully submitted by,
                                                 Cataldo Law Offices, Inc.



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